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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.                                                            1:23-CV-03924

                                                                                                  PROOF OF SERVICE
                                              (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))


   This summons for SearchNow LLC
 was recieved by me on 7/06/2023:

                                       I personally served the summons on the individual at (place) on (date) ; or


                                    I left the summons at the individual’s residence or usual place of abode with (name) , a person of suitable age and
                                    discretion who resides there, on , and mailed a copy to the individual’s last known address; or


                                    I served the summons on Terry Cameron, who is designated by law to accept service of process on behalf of
          X
                                    SearchNow LLC at SearchNow LLC, 1684 Adswood Road, Clarksville, TN 37042 on 07/07/2023 at 10:45 AM; or


                                       I returned the summons unexecuted because ; or

                                    Other (specify)




          My fees are $ 0 for travel and $ 150.00 for services, for a total of $ 150.00.


          I declare under penalty of perjury that this information is true.

                                                                                                            {{t:s;r:y;o:"Signer";w:250;h:45;}}

        {{t:t;r:y;o:"Signer";l:"Date";w:70;h:10;v:"13435fa6c2a17f83177fcbb5c4a9376ce85befeb";}}


Date:



                                                                                                                                                  Server's signature



                                                                                                                                                  Scott Nance
                                                                                                                                                 Printed name and title



                                                                                                            2275 Knox Lane
                                                                                                            White House, TN 37188


                                                                                                                                                   Server's address




           Additional information regarding attempted service, etc:

           I delivered the documents to Terry Cameron, REGISTERED AGENT with identity confirmed by subject reaching for
           docs when named. The individual accepted service with direct delivery. The individual appeared to be a black-haired
           black male contact 35-45 years of age, 5'6"-5'8" tall and weighing 160-180 lbs.




                                                                                                                                                               Tracking #: 0109840992
